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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA

                              Alexandria Division


      IN RE:

      AIR CRASH INTO THE JAVA SEA               MDL No. 1:23MD3072
      ON JANUARY 9, 2021



      ILLINOIS PLAINTIFFS CONSOLIDATED REPLY TO BOEINGS’ OPPOSITIONS
                           TO REMAND (Dkts. 38-44.)


         I.    Introduction
         All Illinois plaintiffs want their cases remanded and took
  appropriate steps to move the court for relief.             Boeing in error
  now claims Illinois plaintiffs waived their jurisdictional and
  save-to-suitor arguments.1       Illinois plaintiffs timely, factually,
  and legally invoked rights and objections.2
         There has been no consent to or waiver as to jurisdiction.3
  Boeing asserted that it was a citizen of Virginia without informing
  Illinois plaintiffs of material facts that placed that assertion




  1   Dkt. 38, p. 5; Dkt. 39, p. 5.

  2 In re Air Crash Into Java Sea on January 9, 2021, --- F.Supp.3d
  ----, 2023 WL 2876934 *2 (M.D.L. April 7, 2023)(“The actions also
  share significant threshold questions concerning…whether admiralty
  or diversity jurisdiction lies over the actions…”)(emphasis
  added.) Boeing never mentioned waiver to the MDL panel. When the
  MDL panel transferred this case, it did so with the expectation
  that all jurisdiction arguments would be heard by a single court.

  3   Dkt. 38, p. 3-4; Dkt. 39, p. 3-6.

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  into dispute.4     Boeing is at odds with “fundamental principle of
  our jurisprudence” that “seeks the discovery of truth by means
  of a managed adversarial relationship between the parties.”5
         Boeing is using its claimed principal place of business as a
  means of procedurally creating division and entanglement among the
  plaintiffs towards a common end: dismissal on Forum Non-Conveniens
  (FNC) grounds.6     Boeing’s request that the Court find some Illinois
  plaintiffs objection to jurisdiction as untimely, a request not
  made as to other Illinois plaintiffs is yet another example of its
  strategy.7
         Boeing’s “Stalingrad defense”8 should give this Court pause.
  The    SJY-182’s   suits    filed   in       Illinois   seek   to   hold   Boeing
  accountable for a product that has caused significant loss of life
  and raises important safety questions over a mechanism currently
  in place in planes flying on American soil. The SJY-182 suits raise
  common questions of law and fact like the 737 MAX litigation:
  whether Boeing an American company with international presence is


  4   Dkt. 20, Exhibit A to X.

  5 MercExchange, L.L.C. v. eBay, Inc., 467 F.Supp.2d 608, 617
  (E.D.Va.2006); Dkt. 44, p. 2 (“In their supplemental memorandum,
  the Illinois Plaintiffs request jurisdictional discovery.”) This
  statement omits a material fact that jurisdictional discovery was
  requested since January 20, 2023, “Plaintiffs request that the
  Court grant them permission to conduct discovery to establish that
  Boeing was not a citizen of Virginia on October 13, 2022 when it
  filed its notice of removal.” Aprillia et al. v. Boeing, No. 22-
  CV-05609, Northern District of Illinois, Dkt. 25, p. 9.

  6 Dkt. 30 at 1. (“These cases present a textbook example of a
  lawsuit warranting forum non conveniens dismissal.”) They are not.

  7   Dkt. 39, p. 3-6.

  8 Safer Display Tech., Ltd. v. Tatung Co., 227 F.R.D. 435, 442
  (E.D.Va.2004) (Doumar, J.)

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  introducing a product into commerce that is defectively designed,
  manufactured, and modified in America.9 Boeing’s attempt to side-
  step inquiry on that issue is not new.10
         Though   the   737-Max   cases       involved   Boeing’s   MCAS    system
  whereas SJY-182 involves Boeing’s auto-throttle system, Boeing’s
  motive, intent, absence of mistake, and knowledge regarding both
  the    MCAS   system,   the   auto-throttle      system,   and    its    product
  generally are relevant as other act evidence in this case.11 737-
  Max, Lion Air crashed on October 29, 2018. 737-Max, Ethiopian
  Airlines crashed on March 10, 2019. On January 7, 2021, Boeing was
  indicted for the 737-Max crashes and entered into a deferred
  prosecution agreement with the Department of Justice.                   Two days
  later, SJY-182 crashed.
         To protect the plaintiffs’ selected forum, promote judicial
  efficiency, and protect international principles of comity, the
  Court “not only has a right but a duty to inquire sua sponte into
  whether subject matter jurisdiction exists if the basis of such
  jurisdiction appears questionable as it does in this case.”12


  9 In re: Ethiopian Airlines Flight ET 302 Crash, No. 19 C 2170
  (Consolidated), 2023 WL3728625 (N.D. Il. May 30, 2023); United
  States v. Boeing Co., 4:21-CR-5-O, 2022 WL 13829875, at *6 (N.D.
  Tex. Oct. 21, 2022).

  10 Gelles,David, Boeing Aims To Move Victim Lawsuits Abroad, but
  C.E.O. Says He Is Unaware, The New York Times, November 10, 2019
  available at https://www.nytimes.com/2019/11/10/business/boeing-
  lion-air-lawsuits-indonesia.html (last checked July 28, 2023.)

  11   Federal Rule of Evidence 404(b).

  12 Craighead v. Nissan Motor Acceptance Corp., No. 1:10–cv–981
  (JCC/JFA), 2010 WL 5178831, at *6 (E. D. Va. Dec. 14, 2010) (citing
  Roche v. Lincoln Prop. Co., 373 F.3d 610, 621 (4th Cir. 2004),
  rev'd on other grounds by Lincoln Property Co. v. Roche, 546 U.S.
  81 (2005) (“Because the parties may not waive or consent to federal
  subject matter jurisdiction-indeed we must raise it sua sponte if
  jurisdiction appears questionable[.]”)
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         Boeing cannot demonstrate by a “preponderance of evidence”
  that there is federal jurisdiction over these cases.13                   To the
  extent Boeings’ declarations suggest otherwise, they are disputed
  and discovery is requested.            All Illinois plaintiffs respectfully
  ask that the Court return these cases back to state court in
  Illinois where SJY-182 cases are pending.
         II.    Boeing’s principal place of business was in Illinois
                when Illinois plaintiffs’ actions commenced.14
         In    the   interests     of    judicial   economy   and   international
  comity, and pursuant to binding precedent, because some SJY-182
  cases will be heard in Illinois state court, that court should
  hear all Illinois cases.
         Boeing’s principal place of business was in Illinois as of
  May 17, 2022.15 With the exception of a quarterly report filed on
  June 30, 2022, the first date mentioned in Boeing’s declaration on
  this    point      is   August   16,    2022.     Boeing    identifies   in   its
  declaration June 30, 2022 as the earliest date its citizenship was




  13Scottv. Cricket Commc’ns, LLC, 865 F.3d 189, 194 (4th Cir. 2017);
  Roche, 373 F.3d at 616-617.

  14In support of this section and in reply to Boeing’s
  oppositions, plaintiffs have attached the declaration of an
  investigator named Brett Starr marked in sequence as Exhibit Y.
  Dkt. 20.

  His declaration is supported by extensive research material.
  That material is not attached to the declaration out of courtesy
  to those individuals identified even though the material would
  not be subject to seal or redaction. See F.R.C.P 5.2, LCR 5 and
  7(C). The documents will be given to Boeing. LCR 5(G). If
  Boeing contests their authenticity or accuracy, plaintiffs will
  file them with the Court as “provided by law” and “Court rule.”
  LCR 5(A).

  15   Dkt. 20-5, Ex. E.

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  based in Virginia.       The evidence demonstrates that Boeing remained
  a citizen of Illinois when Illinois actions commenced.
         When Boeing filed its Stock-Corporation, Annual Report with
  the Commonwealth of Virginia’s State Corporation Commission on May
  17, 2022, the document was filed and signed by its president and
  CEO, Mr. David Calhoun.16
         The steps taken to file the report require reflection and
  deliberation.17     The reporter is required by law to identify the
  corporation’s “directors,” “principal officers” including their
  “post office addresses,”18 and when an officer signs the form:19




         Many individuals identified in Boeing’s declaration were not
  identified by Mr. Calhoun as officers or directors pursuant to
  Virginia law in the May 17, 2022 report.20 It follows that those
  individuals identified in Boeing’s declaration not listed in the



  16   Id.

  17Ex. Z (State Corporation Commission – File an Annual Report in
  the Clerk’s Information System).

  18   Code of Virginia § 13.1-775(A)(3).

  19 Ex. Z, p. 2; see also Trace Mountain Prods., Inc. v. Special
  Data, Inc., 1994 WL 1031414(Va. Cir. Ct. Nov.3, 1994)(“the annual
  report…was filed with the State Corporation Commission as required
  by law listing…directors and officers of that corporation, which
  report was filed under the oath of [the signatory]…”)

  20   Dkt. 42, p. 8-10.

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  report were not directors or officers of Boeing on or about May
  17, 2022.
          In Virginia, “[a]ll corporate powers shall be exercised by or
  under the authority of the board of directors, and the business
  and affairs of the corporation managed under the direction, and
  subject     to   the    oversight,    of   the    board    of   directors…”21
  Acknowledging the board’s broad powers, the declarant states that
  Boeing’s operations are “…subject to the direction of Boeing's
  senior executive leadership and oversight of Boeing's Board of
  Directors.”22    That    acknowledgement     finds    support   in   Boeing’s
  Certificate of Incorporation:23




  21 VACode Ann. § 13.1-673(B); Sfreddo v. Sfreddo, 59 Va. App.
  471, 481-482 (2012)(The "intent of the board of directors is
  necessarily the intent of the corporation," the board of
  directors have the "widest powers" under Virginia law). The
  current board exercised their wide powers when they recently
  refused to payout a bonus to Boeing’s CEO. Tangel, Andrew,
  Boeing Board Denies CEO David Calhoun a Performance Bonus, The
  Wall Street Journal, March 3, 2023 available at
  https://www.wsj.com/articles/boeing-board-denies-ceo-david-
  calhoun-a-performance-bonus-3a3a6c74 (last checked July 24,
  2023.


  22   Dkt. 42, p. 5.

  23The Boeing Company, Amended and Restated Certificate of
  Incorporation, p. 4, available at
  https://www.boeing.com/resources/boeingdotcom/company/general_in
  fo/pdf/certificate_incorporation.pdf (last checked July 28,
  2023.)
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         Mr. Calhoun identified as directors: himself; Robert Bradway;
  Susan Schwab; Ronald A Williams;                 Arthur D Collins; Edmund P
  Giambastiani; Lawrence Kellner; Lynn Good; Caroline Kennedy; John
  M. Richardson; Steven M. Moellenkopf; Akhil Johri; and listed
  everyone’s post office address in Chicago, Illinois.24
         Mr. Calhoun separately identified the following corporate
  officers: Natalie N. Rorem (assistant treasurer); Grant M. Dixton
  (secretary); David A. Dohnalek (treasurer) and listed everyone’s
  post office address in Chicago, Illinois.25                   Boeing admits Mr.
  Dohnalek    worked      and    resided     in    Chicago    and    public    records
  demonstrate that Ms. Rorem is currently located in Chicago.26
         Mr. Starr’s research confirms that Mr. Calhoun, Mr. Bradway,
  Mr.    Collins,     Mr.      Williams,     Ms.    Schwab,    Mr.    Collins,        Mr.
  Giambastani, Ms. Rorem, Mr. Dixton, Mr. Dohnalek are not residents
  of    Virginia    and   do    not   have   associations     with    the     state   of
  Virginia.27
         Boeing’s declarant corroborates Mr. Starr’s research stating
  that Mr. Calhoun’s “primary residence is in New Hampshire.”28                       The
  declarant further confirms that Mr. Dohnalek was the treasurer,
  resided and maintained an office in Illinois.29 That corroboration
  bolsters Mr. Starr’s overall research.




  24   Id.

  25   Id.

  26   Dkt. 20-24, Ex. X at 3.

  27   Ex. Y, p. 8.

  28   Hamoudi Declaration.

  29   Dkt. 42, p. 10-11.

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         Separately,     Mr.   Kellner’s       location    is   listed    in    Austin,
  Texas.30 Ms. Good was located in Charlotte, North Carolina.31                     Mr.
  Moellenkopf was located in San Diego, California in 2022.32
         Per Mr. Calhoun’s affirmation, all the individuals legally
  identified as directors and officers who owe fiduciary obligations
  to    shareholders     maintained    their      Boeing    offices      in    Chicago,
  Illinois on or about May 17, 2022, including himself.33
         Boeing’s declarant states that the directors held a virtual
  meeting on August 29-30, 2022, a meeting in Arlington, Virginia on
  October 17-18, 2022, then a meeting in St. Louis on December 8-9,
  2022, but does not reveal if they made or discussed “significant
  corporate     decisions”     and    “corporate      policy,”34      Central     West
  Virginia Energy Co., Inc. v. Mountain State Carbon, LLC., 636 F.3d
  101, 107 (4th Cir. 2011.), or attended “executive retreat[s].”
  Hertz Corp. v. Friend, 559 U.S. 77, 97 (2010). Since Mr. Calhoun
  is a director, he attended both meetings, he has that information.
  A deposition would aid the Court in clearing up this ambiguity.
         These meetings in different locations supports plaintiffs’
  position that Boeing was in the process of transitioning its
  principal place of business from Illinois to Virginia throughout
  2022 into early 2023 but had not finalized the move.

  30 https://en.wikipedia.org/wiki/Larry_Kellner                (“He resides in
  Austin, Texas.)(last checked July 23, 2023).

  31 https://www.duke-energy.com/our-company/about-

  us/leadership/lynn-j-good (“She and her husband, Brian, live in
  Charlotte.”)(last checked July 23, 2023).

  32   Ex. AA, Moellenkopf Information.

  33 Adelman v. Conotti Corporation, 215 Va. 782, 790, 213 S.E.2d
  774, 779 (1975)(stating that directors owe fiduciary obligations
  under Virginia law.)

  34   Ex. 42, p. 3-4.

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         That it was affirmed by Boeing’s CEO and director that all
  these directors and officers including himself maintained offices
  in Chicago and as plaintiffs have demonstrated that they lived
  outside of Virginia further reinforces plaintiffs’ position.
         But there is more. Boeing then filed an additional report
  with the state of Virginia in December 2022 like the one Mr.
  Calhoun filed in May 2022. The December 2022 form affirmed a
  significant change while leaving intact Mr. Calhoun’s earlier
  affirmation that all directors and officers maintained a post
  office box in Chicago.35
         Ms. Rorem changed36 the principal office from Virginia to
  Delaware on December 1, 2022.37           The amendment circumstantially
  demonstrates that the transition was not complete and indicates
  that Mr. Calhoun’s earlier affirmation may have been premature.
         The timing of the change is circumstantially significant for
  another reason. Some Illinois plaintiffs had filed remand motions
  on October 7, 2022, prior to December 1, 2022 disputing Boeing’s
  claim that it had moved to Virginia.38          It is reasonable to infer
  that Boeing amended the report because it faced the prospect of
  having their CEO’s earlier affirmation in May 2022 scrutinized.
  The board may have instructed Ms. Rorem to amend the report.


  35 Dkt. 20, Ex N. Ms. Norem also filed and signed a subsequent
  report on March 10, 2023 but was identified as President and
  Assistant Treasurer. Id., See Ex. T.

  36It is reasonable to infer that Ms. Rorem filed amended report
  since this was the second report filed in 2022, and only one
  report is required annually under the law. VA Code Ann. § 13.1-
  775(A);(C).

  37   Dkt. 20, Ex N.

  38Wadu et al. v. Boeing, No. 1-22-04896, Dkt. 14 (Motion to
  Remand, October 7, 2022).

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   Deposition and discovery will aid the Court in addressing these
   issues.
           There is even more. Boeing first announced its plan to move
   to Virginia on May 5, 2022.39 Mr. Calhoun affirmed on May 17, 2022,
   that they had moved to Virginia.                No company, let alone a company
   the size of Boeing can magically transform its principal place of
   business within 12 days. That Boeing fails to provide evidentiary
   facts       disputing    plaintiffs’       evidence     that   Mr.    Calhoun     was
   announcing policy to Boeing’s employees from Chicago, Illinois on
   July 27, 2022, October 26, 2022, and January 25, 2023 speaks
   volumes.40 In short, he was in Chicago throughout 2022 into early
   2023 at Boeing’s principal place of business making announcing
   policy.
           Separately, Ms. Rorem, like Mr. Calhoun, identified: Edmund
   P Giambastiani; Arthur D Collins; Ronald A Williams; and Susan
   Schwab as directors listing their addresses in Chicago, Illinois.41
   It    continues     to   follow    that    those    individuals      identified    in
   Boeing’s declaration not listed in the report were not directors
   or officers of Boeing on or about December 1, 2022.
              As explained above, all the directors and officers in the
   December 1, 2022 report live and work outside of Virginia per Mr.
   Starr’s declaration.42
           Ms. Rorem’s affirmation that all these individuals maintained
   an office in Chicago, Illinois shows that Mr. Calhoun’s earlier
   affirmation,      on     that     point,    was    no   oversight.       Both     her

   39Dkt. 42, fn. 2 (“Boeing Plans to Move Headquarters to
   Arlington, Virginia.”)

   40   Dkt. 20-7, Ex. G, Dkt. 20-12, Ex. L, Dkt. 20-19, Ex. S.

   41   Id.

   42   Ex. Y, p. 8.

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   affirmations and Mr. Calhoun’s affirmation were made subject to
   Virginia law, by two individuals who have deep insight as to the
   innerworkings of Boeing’s corporate structure, and because of
   that, their affirmations should resolve this matter in favor of
   Illinois’ plaintiffs’ position.




          Boeing’s declarant was not present at the Board meetings where
   these decisions were made. Ms. Rorem has unique insight since she
   is also Vice President of Boeing Aerospace.43            She filed another
   report for Boeing Aerospace in March 2023 affirming that Chicago
   is Boeing Aerospace’s “principal office.”
          For Boeing Aerospace, she identifies as officers Gregory
   Vogelsperger (secretary), Laura Howley (treasurer), and Tim Buerk
   (president) with all of them located in Illinois.           As of March 18,
   2023, Mr. Vogelsperger44 was Chief Counsel, Corporate Finance and
   Governance for Boeing, in Chicago, Illinois where he was charged
   with making high level legal, finance, and governance decisions on
   behalf of the company, the type of decisions made at a company’s
   principal place of business.
          There is more evidence. Boeing’s declarant is in Chicago where
   she    currently   keeps   and   maintains   Boeing’s   corporate    records
   lending further support that Boeing’s principal place of business


   43   Dkt. 20, Ex. U.

   44Mr. Vogelsperger provided a declaration in some of the Illinois
   cases. Handayani v. Boeing, No. 23-CV-00371, Dkt. 17-1. The
   declaration speaks to Boeing’s principal place of business as of
   January 5, 2023.

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   located in Illinois.45 The reason Boeing’s Corporate records are
   in Chicago is because Chicago is its principal place of business:46




          Faced with overwhelming evidence, Boeing points to its media
   representations. Boeing's representations in the media and on its
   website     claiming     that     Virginia     was    the     corporation's
   “headquarters” are not probative because “[self-serving] materials
   [like articles and website postings], ... do not convert [Virginia]
   into the place where the corporations high level officers direct,
   control, and coordinate the corporation's activities.” Carbon at
   105 n.2 (quoting Hertz, 559 U.S. at 80) (quotations omitted).
   These representations reflect a reality in corporate or brand
   imaging—that a company’s desire to create a particular perception
   outpaces reality.
          For example,     Boeing’s declarant states       “Boeing currently
   employs approximately 500 people,” in Arlington, Virginia.47               On
   May 29, 2022, the Virginia Business, a local publication, reported
   that “Boeing already employs 400 people at its 4.7-acre campus in
   Arlington’s Crystal City — near Amazon.com Inc.’s HQ2 and Virginia
   Tech’s Innovation Campus.”48 By its own admissions, to date, a

   45DKt. 42, p. 1; see also Brown v. PracticeLink, Ltd., 2017 Fair
   Empl. Prac. Cas. (BNA) 434099, 2017 WL 6029630, *4 (S.D. W. Va.
   2017)(concluding in part that citizenship was in St. Louis because
   corporate records were kept and maintained there.)

   46   See Footnote 23.

   47   Dkt. 42, p. 3.

   48Andrews, Kate, Boeing will move global HQ to Arlington,
   Virginia Business, May 29, 2022 available at
   https://www.virginiabusiness.com/article/boeing-will-move-
   global-hq-to-arlington/ (last checked July 26, 2023.)

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   company with more than “141,500 employees” has managed to move
   roughly a 100 people to its new principal place of business since
   May of last year.       But the declaration fails to state how many
   employees worked in Arlington when these actions commenced months
   ago.     Considering the two annual reports filed by Boeing in the
   state of Virginia in 2022 that list all post office addresses for
   directors and officers in Illinois, it is reasonable to conclude
   that no one or maybe a handful moved there in 2022 from Chicago.
          The declarant states “[t]he matters stated here are based on
   my review of Boeing's corporate records, work product generated by
   Boeing employees based on those corporate records, and/or my
   personal knowledge,” but does not identify the records or work
   product so that they can be adequately confronted in a reply.49
          In contrast, plaintiffs will disclose to the defendant                      the
   information underlying their declaration. This is why discovery
   is    necessary   so   that    documents        are   produced      in   an   orderly
   fashion. For example, Boeing cited its 10-Q report in support of
   its position that they were in Virginia but did not provide the
   entire report to the Court. Plaintiffs provided the document in
   its entirety then identified factual issues. Dkt. 19, p. 3. Without
   discovery, plaintiffs are left with having to scour public records.
          Public records show its principal place of business was in
   Chicago,    Illinois   at     the   end    of   2022.        In   its    2022,   proxy
   statement,    Boeing   directs      shareholders        to   send    proposals     and
   nominations for directors to Chicago, Illinois all the way into
   January 29, 2023.50


   49   Dkt. 42, p. 1.

   50Boeing, 2022 Annual Meeting of the Shareholders, April 29,
   2022 available at
   https://s2.q4cdn.com/661678649/files/doc_financials/2021/ar/Boei
   ng-2022-Proxy-Statement.pdf (last checked July 26, 2023.)

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          Boeing’s     By-Laws   list   Arlington    as   the    “Corporation’s
   executive offices,” but those By-Laws were “amended and restated”
   after these suits were filed:51




          Boeing has provided pleadings filed by its attorneys to the
   Court to demonstrate that Boeing’s principal place of business was
   in Virginia when these actions commenced to counter pleadings
   provided    by    Illinois    plaintiffs   that   stated     otherwise.    An
   attorney’s assertion in a pleading does not establish Boeing’s
   principal        place   of    business     because,       “[t]he   parties'



   51   Dkt. 42. Fn. 5.
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   characterization        of   themselves      or     their     claims       is   not
   determinative for federal jurisdiction purposes.”52
           Plaintiffs brought those pleadings to the Court’s attention
   to    demonstrate     factually   “that    Boeing   had     not   completed     its
   transition from Illinois to Virginia.”53             The attorneys that now
   state they made a mistake do not disclose the factual basis that
   changed their position.54 They may have waived the underlying work
   product supporting the claimed mistakes.55           That work product would
   include the correspondences sent and received between Boeing and
   these attorneys regarding the issue.              Boeing does not provide a
   declaration confirming that it has corresponded with all agents
   advocating its interests in courts to determine if others made
   “mistakes.”
           Though it is not their burden, Plaintiffs have clearly shown
   that Boeing’s principal place of business was in Illinois when
   these     actions    commenced.    Stated    differently,         Boeing    cannot
   plausibly demonstrate by a preponderance of the evidence that its
   principal place of business was not in Illinois when these actions
   commenced.
           The Court should resolve this issue in plaintiff’s favor
   because of that failure.           If not and to the extent Boeing’s


   52Gen. Tech. Applications, Inc. v. Exro Ltda, 388 F.3d 114, 118
   (4th Cir. 2004) (quoting Roche v. Lincoln Prop. Co., 373 F.3d 610,
   615–16 (4th Cir. 2004)).

   53   Dkt. 19, p. 5.

   54   Dkts. 40, 43.

   55U.S. v. Caldwell, 7 F.4th 191, 207 (4th Cir. 2021) (when an
   attorney freely and voluntarily discloses the contents of
   otherwise protected work product to someone with interests
   adverse to his or those of the client, he may be deemed to have
   waived work product protection.)

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   declarations      suggest     otherwise,      plaintiffs      dispute     all
   declarations filed by Boeing with this Court and filed in Illinois.
   Further, plaintiffs renew their request for discovery.
          Plaintiffs request that Boeing answer the interrogatories it
   previously agreed to answer.56 Plaintiffs request an opportunity
   to depose Mr. Calhoun and Ms. Rorem given their affirmations to
   the state of Virginia’s Corporation Commission regarding Boeing’s
   principal place of business and the location of its officers and
   directors.     Finally, plaintiffs request an opportunity to depose
   Boeing’s declarants and request the opportunity to review the
   documents they have relied on including documents favorable to
   plaintiffs that have been withheld.
          III. The forum defendant rule applies to Illinois
                plaintiffs.
          Illinois plaintiffs adopt the Virginia plaintiffs’ arguments
   that the forum defendant rule applies, Boeing’s snap removal was
   improper, and that Boeing was properly joined and served.57               For
   the reasons set out by Virginia plaintiffs, the forum defendant
   rule applies to the Illinois plaintiffs because at the time their
   actions commenced, they properly joined and served Boeing in its
   home forum.
          IV.   There is no admiralty jurisdiction.
          Boeing states that it is “irrelevant” that plaintiffs allege
   in their complaints that the tort occurred over land.58 This


   56   Dkt. 34-1, p. 16.

   57Kastenbaum et al. v. Boeing, No. 1:23-cv-00044-CMH-WEF, Dkt. 24,
   p. 15-20; Dkt. 14, p. 14-21.

   58 Dkt. 38, p. 14, Dkt. 39, p. 16 compare with Dkt. 20, Ex. H,
   ("the autothrottle failed within minutes after the accident
   aircraft departed the runway and while it was over land."); Ex. K
   ("the auto-throttle failed within minutes after the accident
   aircraft departed the runway and while it was over land."); Ex. Q
                                        16
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   circuit, however, clearly finds it relevant.59 Boeing admits that
   the    product,   plaintiffs’   claim      was   designed   negligently,   was
   designed, and built on land.60        The alleged tort does not pose any
   “risk to a variety of activities essential to maritime commerce.”61
   And a domestic passenger flight bound from Jakarta International
   Airport to Supadio International Airport in Pontianak, Indonesia
   does not show a “substantial relationship” to traditional maritime
   activity.62    That the two airports were separated by water presents
   “too attenuated a relationship to traditional maritime activity.”63
          While it is true that SJY 182 ultimately crashed into the
   water, the focus is not where the tortuous harm ended but when
   “the alleged negligence became operative while the aircraft was on
   or    over   navigable   waters.”64   The    rule   makes   sense   otherwise


   ("while it was flying over land."); Ex. R ("the autothrottle failed
   within minutes after the accident aircraft departed the runway and
   while the aircraft was over land.").

   59Mayor & City Council of Baltimore v. BP P.L.C., 31 F.4th 178,
   226-228 (4th Cir. 2022) (“BP P.L.C.”)

   60 Dkt. 15, p. 9-10 (“The SJY 182 aircraft was assembled in the
   State of Washington, which is also where most of Boeing’s design
   work for the 737-500 aircraft and its Cruise Thrust Split Monitor
   (“CTSM”) took place. Boeing’s activities in connection with the
   design, manufacture, assembly, testing, and certification of
   Boeing 737-500 model aircraft, the CTSM, and the manuals for the
   accident aircraft were based predominantly in the State of
   Washington.”)

   61   White v. U.S., 53 F.3d 43, 47 (4th Cir. 1995.)

   62   Id.

   63   Id.

   64 Compare Executive Jet 409 U.S. 249, 264 (1972); and Executive
   Jet Aviation, Inc. v. City of Cleveland, 448 F.2d 151, 154 (6th
   Cir. 1971) (“the alleged tort in this case occurred on land before
   the aircraft reached Lake Erie…”) with Jerome B. Grubart, Inc. v.
   Great Lakes Dredge & Dock Co., 513 U.S. 527, 534 (1995)(“The place
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   admiralty jurisdiction in cases involving the same alleged tort
   would lie simply if the plane crashed in water as opposed to land
   creating an absurd disparity where some freak events are subject
   to admiralty jurisdiction whereas others are not even if the
   tortuous conduct originated on land in the United States decades
   earlier. “It was manufactured in 1994 and initially delivered to
   Continental Airlines on May 31, 1994, in Washington state.” Dkt.
   15, p. 2.
         Finally, Illinois plaintiffs have not waived their right to
   invoke common-law remedies in state court. Dkt. 19, p. 11-12. This
   is another attempt by Boeing to create procedural disparity between
   the plaintiffs.
         V.    Conclusion
         Plaintiffs respectfully ask that the Court remand these cases
   for the reasons set out in all their pleadings filed in this Court
   and in Illinois federal court.
         As the Honorable Robert Dow concluded, federal jurisdiction
   does not lie over some Illinois plaintiffs’ actions.65           Though his
   decision’s precedential value is limited to some of its facts, it
   has a great deal of value for purposes of judicial economy and
   international comity.
         To maintain congruity between similarly situated plaintiffs
   already in state court in Illinois, the Court should respectfully
   remand these cases.      Boeing will not suffer prejudice because it
   can raise its “textbook”’ case for FNC in Illinois state court



   in the river where the barge sat, and from which workers directed
   the crane [the tort arose], is in the ‘navigable waters of the
   United States.’”) and Lu Junhong v. Boeing, 792 F.3d 805 (7th Cir.
   2015)(wrong occurring while the aircraft was over the ocean).

   65Riyanto v. Boeing, No. 21-1475, 2022 WL 16635556 (N.D. Ill.
   Nov. 2, 2022) (Riyanto I).

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   where its Chief Legal Counsel and all its corporate records are
   currently located.66 Indeed, Boeing prefers to be in Illinois state
   even though its preference is federal court.67

   Dated: July 28, 2023.               Respectfully submitted,

                                       By:  /s/ Mohammad Hamoudi
                                                  By Counsel
                                       Charles Herrmann (WA Bar No. 6173)
                                       Anthony Marsh (WA Bar No. 45194)
                                       Mohammad Hamoudi (WA Bar No. 48512,
                                       CA Bar No. 273104)
                                       Pro Hac Vice
                                       HERRMANN LAW GROUP
                                       505 5th Avenue South, Suite 330
                                       Seattle, WA 98104
                                       (206) 625-9104



                                       By:  /s/ Thomas Patrick Routh
                                                 By Counsel
                                       Thomas Patrick Routh
                                       Nolan Law Group
                                       20 N Clark St 30th Floor
                                       Chicago, Illinois 60602-5094
                                       (312) 630-4000




   66Vivas v. Boeing Co., 392 Ill. App. 3d 644, 657, 331 Ill.Dec.
   827, 911 N.E.2d 1057 (2009); Milton v. The Boeing Company, 2023
   IL App (1st) 220647 (Ill. App. February 3, 2023); Arik v. Boeing
   Co., No. 1-10-0750, 2011 IL App (1st) 100750-U, at *2-3 (Ill.
   App. Ct. Jan. 10, 2012).

   67Ex. BB (“The reason we've argued in favor of the Northern
   District of Illinois is that that's where the first filed cases
   are. That's where the majority of the decedents are represented.
   There's only six unique decedents in the Eastern District of
   Virginia, and the evidence with respect to Boeing's activities
   would primarily come out of Washington state because the
   aircraft would have been designed and manufactured there.”)
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                                       By:   /s/ Floyd Wisner
                                                 By Counsel
                                       Floyd A. Wisner
                                       Alexandra Wisner
                                       Wisner Law Firm
                                       161 N. Clark Street Suite 1600
                                       Chicago, Illinois 60601
                                       (312) 216-5168



                                       By:   /s/ Sanjiv N. Singh
                                                 By Counsel
                                       Sanjiv N. Singh
                                       Sanjiv N. Singh, A Professional Law
                                       Corporation
                                       1700 S. El Camino Real Suite 503
                                       San Mateo, CA 94402
                                       (650) 389-2255



                                       By:   /s/ Michael B. Indrajana
                                                 By Counsel
                                       Michael B. Indrajana
                                       Indrajana Law Group, A Professional
                                       Law Corporation
                                       1700 S. El Camino Real Suite 503
                                       San Mateo, CA 94402
                                       (650) 597-0928




                                       By:   /s/ Vincent C. Mancini
                                                 By Counsel
                                       Vincent C. Mancini
                                       Reimer Dobrovolny & La Bardi PC
                                       15 Spinning Wheel Road
                                       Suite 310
                                       Hinsdale, IL 60521
                                       (630) 654-9547




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                              Exhibit Y
                         Declaration of Brett Starr
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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA

                             Alexandria Division


   IN RE:

   AIR CRASH INTO THE JAVA SEA                     MDL No. 1:23MD3072
   ON JANUARY 9, 2021



                       DECLARATION OF MOHAMMAD HAMOUDI
        I, Mohammad Hamoudi, declare as follows:
     1. I am admitted pro hac vice as counsel on this matter.
     2. I have been tasked with coordinating and filing pleadings on
        behalf of Illinois counsel.
     3. Exhibit Z is a true and correct copy of a document I obtained
        from the Virginia State Corporate Commission’s website.
     4. Exhibit AA is a true and correct copy of a LinkedIn page that
        I obtained from the internet.
     5. Exhibit BB is a true and correct copy of transcript from the
        MDL hearing which my office obtained at my direction.
     6. I reviewed websites, cited those websites in our reply, and
        the information provided in our reply is true and accurate at
        the times I reviewed those websites:
            a. Gelles,   David,   Boeing    Aims    To   Move   Victim   Lawsuits
              Abroad, but C.E.O. Says He Is Unaware, The New York
              Times,       November         10,      2019       available     at
              https://www.nytimes.com/2019/11/10/business/boeing-
              lion-air-lawsuits-indonesia.html (last checked July 28,
              2023.)

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           b. Tangel, Andrew, Boeing Board Denies CEO David Calhoun a
              Performance Bonus, The Wall Street Journal, March 3,
              2023 available at https://www.wsj.com/articles/boeing-
              board-denies-ceo-david-calhoun-a-performance-bonus-
              3a3a6c74 (last checked July 24, 2023.
           c. The Boeing Company, Amended and Restated Certificate of
              Incorporation,           p.         4,         available           at
              https://www.boeing.com/resources/boeingdotcom/company/
              general_info/pdf/certificate_incorporation.pdf                (last
              checked July 28, 2023.)
           d. https://en.wikipedia.org/wiki/Larry_Kellner                       (“He
              resides in Austin, Texas.)(last checked July 23, 2023).
           e. https://www.duke-energy.com/our-company/about-
              us/leadership/lynn-j-good (“She and her husband, Brian,
              live in Charlotte.”)(last checked July 23, 2023).
           f. Andrews, Kate, Boeing will move global HQ to Arlington,
              Virginia     Business,        May   29,     2022      available     at
              ht0tps://www.virginiabusiness.com/article/boeing-will-
              move-global-hq-to-arlington/         (last     checked     July    26,
              2023.)
           g. Boeing, 2022 Annual Meeting of the Shareholders, April
              29,               2022                    available                 at
              https://s2.q4cdn.com/661678649/files/doc_financials/20
              21/ar/Boeing-2022-Proxy-Statement.pdf              (last     checked
              July 26, 2023.)




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     DECLARED UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE UNITED
  STATES AND WASHINGTON STATE, DATED this 28th day of July 2023 at
  Seattle, Washington.
                                By:   /s/ Mohammad Hamoudi
                                                By Counsel




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                             Exhibit Z
     Virginia State Corporation Commission – How to File a Report
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                            File an Annual Report in the
                            Clerk’s Information System

Each Virginia corporation and foreign corporation authorized to do business in Virginia must file an Annual
Report with the Office of the Clerk every year. The report is due annually by the last day of the 12th month
after the entity was incorporated or issued a certificate of authority. This how-to guide will walk you through
filing an Annual Report in the new Clerk’s Information System (CIS) https://cis.scc.virginia.gov/.

You will need to determine if you are filing an Annual Report with no changes or if you need to file it with
changes.


                        File an Annual Report with No Changes

1    Log on to CIS at https://cis.scc.virginia.gov/.
     Note: Google Chrome, Internet Explorer or
     Microsoft Edge are recommended.

2    Click Online Services on the top left.                            2


3    Under Business Entities, click Annual
     Reports (Corporations).

4    Select With no changes                                                                                    3
     from the drop-down.
                                         4
5    Click Continue in the
     bottom right.                                                                                     5


 6   Enter either the Entity
     Name or the SCC Entity
     ID number and click
     Search.                         6                                      6
                                                                6

7    Select the radio button to
     the left of your business.

     Note: Clicking the entity
     name will open your
     business information in a               7
     new tab.
                                                                                                        8
8    Click Continue.



www.scc.virginia.gov/clk                                                                                           1
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File an Annual Report with No Changes

9   Review the Entity Information
    and click Next.

                                                                                            9
    Review the Principal
    Office Address and                                                                 9
    click Next.

    Review the Principal
    Information and
    click Next.
                                                                         9


10 Enter the Signature Information.
    You must complete all fields with an
    asterisk (*):
       Signing as
       Signature                             10
       Title
    Note: Though there is no asterisk, the
    Printed Name section must match the      10                     10
    Signature field.

11 Click the Add button to add the           10
    signature to the Annual Report.
                                                           11                12
12 Click the OK button.

13 Click the Next button.                                                              13




14 Click the Add To Shopping Cart
    button on the bottom right.

    Note: There is no charge to file an
    Annual Report.                                                                14


15 A confirmation of successful              15
    submission will appear.




www.scc.virginia.gov/clk                                                                        2
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File an Annual Report in the Clerk’s Information System
                          File an Annual Report with Changes
1   Log on to CIS at https://cis.scc.virginia.gov/.
    Note: Google Chrome, Internet Explorer or             2
    Microsoft Edge are recommended.

2   Click Online Services on the top left.

3   Under Business Entities, click Annual Reports (Corporations).
                                                                                                3
4   Select With changes from
    the drop-down.
                                             4
5   Click Continue in the                                                          5
    bottom right.

6   Enter either the Entity
    Name or the SCC Entity
    ID number and click              6                                   6
    Search.                                               6

7   Select the radio button to
    the left of your business.
    Note: Clicking the entity name
    will open your business
    information in a new tab.            7

8   Click Continue.                                                                    8



 9 Review the Entity Information. If
    needed, update the Entity Email
    Address and/or the Contact Number.

10 Click Next.


11 Review the Principal Office                   9                       9
    Address and update if needed.                                                          10
    You must complete all fields
    with an asterisk (*):
    Address Line 1 City/County
    Country        State
    ZIP Code                             11
                                                                    11
                                                                                           12
12 Click Next.




www.scc.virginia.gov/clk                                                                            3
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File an Annual Report with Changes

13 Review current Principal                    14
    Information.
14 Check the No Officers and/or            15
    No Directors box(es) if needed.
15 Add principal director(s) and/or
    officer(s) as needed.
                                          13
    Complete all fields with an
    asterisk (*):
      Title             Country
      First Name        Zip Code
      Last Name         City/Town                         16
      Address Line 1    State
16 If you added anyone, click Add
    Principal.                                                                           17
17 Click Next.

18 Enter the Signature Information.
    You must complete all fields with an
    asterisk (*):
       Signing as                                    18
       Signature
       Title                                         18              18
    Note: Though there is no asterisk, the
    Printed Name section must match the              18
    Signature field.

19 Click the Add button to                                     19
                                                                          20
    add the signature to the
    Annual Report.
                                                                                    21

20 Click the OK button.


21 Click the Next button.


22 Click the Add To Shopping Cart
    button on the bottom right.                                                22

    Note: There is no charge to file an             23
    Annual Report.


23 A confirmation of successful
    submission will appear.




www.scc.virginia.gov/clk                                                                      4
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                            Exhibit AA
                       Steven Moellekopf – LinkedIn
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                                                San Diego, California, United States

                                                Retired


                                                Qualcomm
                                                6 yrs 1 mo

                                                Chief Operating Officer and President
                                                2011 - 2014 · 3 yrs


                                                Executive Vice President and President of QCT
                                                2008 - 2011 · 3 yrs


                                                Executive Vice President, QCT Product Management
                                                2008 · Less than a year




                                       Education
                                                University of Michigan
                                                Master of Science (M.S.), Electrical Engineering


                                                Virginia Tech
                                                Bachelor of Science (B.S.), Electrical Engineering




https://www.linkedin.com/in/steve-mollenkopf-1a35a4126/                                                                                                           1/3
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                                 UNITED STATES JUDICIAL PANEL
                                  ON MULTIDISTRICT LITIGATION
                                       _________________

            In re: Air Crash Into the Java Sea                      MDL No. 3072
            On January 9, 2021                                     March 30, 2023
            ____________________________________                     10:32 a.m.



                                 TRANSCRIPT OF ORAL ARGUMENT

            Chair:                               Honorable Karen K. Caldwell
                                                 United States District Court
                                                 Eastern District of Kentucky

            Members:                             Honorable Nathaniel M. Gorton
                                                 United States District Court
                                                 District of Massachusetts

                                                 Honorable Matthew F. Kennelly
                                                 United States District Court
                                                 Northern District of Illinois

                                                 Honorable David C. Norton
                                                 United States District Court
                                                 District of South Carolina

                                                 Honorable Roger T. Benitez
                                                 United States District Court
                                                 Southern District of California

                                                 Honorable Dale A. Kimball
                                                 United States District Court
                                                 District of Utah

                                                 Honorable Madeline Cox Arleo
                                                 United States District Court
                                                 District of New Jersey




            Official Court Reporter:
            Erica R. McQuillen, RDR, CRR
            Evo A. DeConcini U.S. Courthouse, Suite 3524
            405 West Congress Street
            Tucson, Arizona 85716
            (520) 205-4267
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                                     A P P E A R A N C E S



            By:      Mack H. Schultz
                     Perkins Coie, LLP
            For:     The Boeing Company



            By:      Pablo Rojas
                     Podhurst Orseck, PA
            For:     Jonathan Kastenbaum, et al.




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        1                            P R O C E E D I N G S

        2               JUDGE CALDWELL:     And last but not least, the Panel

        3   will consider MDL Number 3072, the Air Crash Into the Java

        4   Sea.

        5               Mr. Schultz?

        6               MR. SCHULTZ:     Good morning, Your Honors.       Mack

        7   Schultz with Perkins Coie on behalf of movant The Boeing

        8   Company, which has moved to centralize the cases arising out

        9   of the Sriwijaya accident in the Northern District of

       10   Illinois.

       11               In terms of development since briefing was closed,

       12   not a lot has happened.       There have been four cases in the

       13   Northern District of Illinois where the remand briefing has

       14   been completed, including a case before Judge Kennelly.

       15   Otherwise the briefs encapsulate the status of the case.                And

       16   I won't go over the arguments for centralization generally.

       17   As the Panel I'm sure is aware, there is a history of

       18   centralizing mass commercial aviation accident litigation,

       19   which is what Boeing is seeking here.

       20               I would, though, like to briefly address the

       21   arguments that have been made against centralization, and the

       22   primary argument is that remand motions should be decided

       23   first.   Notably the plaintiffs in their various briefs cite no

       24   authority for that proposition because there is none.             The

       25   Panel's prior decisions and the Second Circuit decision In re:

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        1   Ivy have made it clear that MDL transfer is appropriate, even

        2   when there are pending motions to remand.

        3               Plaintiffs have pointed to the remand of a very

        4   early Sriwijaya case, Riyanto, as suggesting that it is clear

        5   that the pending actions will also be remanded.            But this --

        6   the Panel in the In re: Eliquis (Apixaban) Litigation and In

        7   re: Payment Card Litigation face the same situation where

        8   people opposing centralization argued that a prior remand

        9   meant that the remand motion should be decided first, and in

       10   both of those cases the Panel centralized it.

       11               The plaintiffs from the -- the plaintiff from the

       12   Eastern District of Virginia also argued that there were not

       13   enough cases to centralize, citing cases with either two or

       14   three separate actions.       There are 21 different actions in

       15   this case, which makes it ripe for centralization, especially

       16   given the possibility of further tag-along actions, as not all

       17   of the decedents on the aircraft are represented in the

       18   litigation.

       19               And finally, with respect to common issues, the

       20   plaintiff from the Eastern District of Virginia argues that

       21   damages issues are individual.        That is typically true, but

       22   there are five crossover decedents here represented in both

       23   districts.

       24               Thank you.

       25               JUDGE CALDWELL:     Thank you.

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        1               Questions?    Judge Kennelly.

        2               JUDGE KENNELLY:     So I got two questions.       One of

        3   them is about the last thing you mentioned.           How does --

        4   what's the story on the people who have dual cases?             Is it --

        5   how do representatives get appointed, I guess, in Indonesia or

        6   wherever they were appointed?

        7               MR. SCHULTZ:     So it might be a question that's

        8   easier for Mr. Rojas, as one of the attorneys handling those

        9   questions, to answer.       Typically what happens in these mass

       10   aviation accidents is that the representatives are sometimes

       11   appointed with the help of the plaintiffs' firms in the states

       12   where they file.      In the Eastern District of Virginia, it's

       13   Mr. Kastenbaum is the representative for all 11 decedents.

       14               The five what I've termed crossover decedents,

       15   there's three minors and there's two adults in that mix.

       16   Sometimes different family members hire different attorneys,

       17   and that explains it as well.

       18               JUDGE KENNELLY:     Okay.    That's really not that

       19   significant a question, I guess.

       20               The thing that I'm really curious about here is

       21   that, you know, I actually just reread the briefs on the

       22   remand motion in the case that's in front of me this morning,

       23   and the primary thrust of those briefs on the part of Boeing

       24   is that there's nothing left in Chicago except one fairly

       25   high-up person in the GC's office, Ms. Amuluru, and everything

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        1   else is in Virginia.

        2               Why the heck are you wanting to centralize these

        3   cases in Chicago since you're telling all of these judges that

        4   everything has gone to Virginia?

        5               MR. SCHULTZ:     So in terms of what's moved to

        6   Virginia, it's the higher executive functions.            There is still

        7   significant Boeing presence in Chicago.

        8               JUDGE KENNELLY:     Yeah, but it doesn't have anything

        9   to do with manufacturing processes, does it?

       10               MR. SCHULTZ:     Correct.    The reason we've argued in

       11   favor of the Northern District of Illinois is that that's

       12   where the first filed cases are.          That's where the majority of

       13   the decedents are represented.          There's only six unique

       14   decedents in the Eastern District of Virginia, and the

       15   evidence with respect to Boeing's activities would primarily

       16   come out of Washington state because the aircraft would have

       17   been designed and manufactured there.

       18               JUDGE KENNELLY:     Okay.

       19               MR. SCHULTZ:     Some of the support operations are

       20   also in California.

       21               JUDGE KENNELLY:     Okay.    So let me just kind of get

       22   to my real point here, which is, I mean, the whole deal on

       23   these cases, they all boil down to who wins the forum non

       24   conveniens motion; right?       That's what it boils down to.         Is

       25   the law for you better in the Seventh than it is in the

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        1   Fourth?

        2               MR. SCHULTZ:     I would say it's more developed in the

        3   Seventh Circuit.      I think we're confident that the law in both

        4   Circuits would support dismissal for forum non conveniens on

        5   the facts of this case.

        6               JUDGE KENNELLY:     Okay.    All right.    Thanks.

        7               JUDGE CALDWELL:     Other questions?      Yes, Judge

        8   Kimball.

        9               JUDGE KIMBALL:     Does Judge Dow's opinion in the

       10   Riyanto v. Boeing case have any bearing on this matter, and if

       11   so, what?

       12               MR. SCHULTZ:     So Judge Dow's opinion in the Riyanto

       13   case has, in our opinion, very little effect on the Northern

       14   District of Illinois cases because Boeing's principle place of

       15   business, its headquarters, moved between when that case was

       16   filed and removed and when the pending cases were filed and

       17   removed.

       18               I know the parties will probably litigate quite

       19   vigorously over whether the decision of Judge Dow or the

       20   earlier decision in Curry v. Boeing is the proper way to look

       21   at the complex intertwining between diversity jurisdiction and

       22   admiralty jurisdiction, but I don't want to go too far down

       23   that path with this Panel.

       24               JUDGE CALDWELL:     Other questions?

       25               Hearing none, we thank you for your argument.           You

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        1   have a minute reserved for rebuttal.

        2               MR. SCHULTZ:     Thank you, Your Honors.

        3               JUDGE CALDWELL:     Mr. Rojas.

        4               MR. ROJAS:    Thank you, Your Honors, and good

        5   morning.    My name is Pablo Rojas, and I think the easiest way

        6   to explain whom I represent, it's all 11 decedents who are

        7   represented in a personal representative of an estate capacity

        8   by Mr. Kastenbaum, meaning all 11 cases that are currently

        9   pending in the Eastern District of Virginia.

       10               And to briefly reiterate our position, we oppose

       11   transfer and consolidation under 1407, but if consolidation is

       12   going to take place at all in these matters, we would suggest

       13   that it be done under Section 1404, and I'll explain why by

       14   making three points, in addition to the points already made in

       15   our papers, about the multidistrict character of these

       16   matters, and they're sort of in descending order of

       17   importance, from my point of view.

       18               Number one, the multidistrict character of these

       19   matters is pretty minimal.        We're talking about cases pending

       20   in only two federal district courts.          There are four sets of

       21   plaintiff lawyers involved in these cases, formerly five,

       22   until the remand motion was granted in the Riyanto matter.

       23   And again, our firm represents all the plaintiffs whose cases

       24   are pending in Eastern Virginia.

       25                Number two, the multidistrict character of this

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        1   matter is sort of fortuitous, and it's a matter of sort of the

        2   timing of Boeing's move from Illinois to Virginia and how that

        3   sort of overlaid with the timing of this unfortunate crash and

        4   the timing of the filing of the lawsuits.

        5               And number three, from our point of view, the

        6   multidistrict character of this matter can and should be

        7   rendered moot, and that can be -- take place in one of two

        8   ways.    One is obviously that all 11 of our cases, our clients,

        9   have a pending remand motion in the Eastern District of

       10   Virginia, which as Boeing correctly points out in its papers,

       11   has now been stayed pending this Panel's decision on Boeing's

       12   motion to transfer.

       13               But in plain English, at some point or another, some

       14   Federal District Court, depending perhaps on the Panel's

       15   decision on the motion to transfer, is going to decide this

       16   remand motion, and if that remand motion is granted consistent

       17   with Judge Dow's granting of the remand motion in the Riyanto

       18   case, there will be no more multidistrict character, at least

       19   to the pending cases arising from this crash.

       20               And to my knowledge, and my friend on the other side

       21   can correct me if I'm wrong, there have been no additional

       22   cases filed in several months.        These cases represented here

       23   in the notice are the pending federal cases arising from this

       24   crash.

       25               The other way, of course, that the multidistrict --

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        1   currently multidistrict character of this matter can be

        2   resolved would be through a Section 1404 transfer.            If there

        3   is going to be transfer and consolidation, we would propose

        4   that it be accomplished through a 1404 transfer, perhaps, of

        5   our cases to the Northern District of Illinois.           Frankly, we

        6   haven't gotten very far in terms of having discussions with

        7   Boeing about that, but we certainly can and would be amenable,

        8   if helpful to the Panel, to provide some kind of status report

        9   in due course.     I understand Boeing's current position in its

       10   papers to be that 1404 transfer is sort of inappropriate here

       11   and a 1407 transfer is preferred.

       12               I would refer to the Panel, I'm sure the Panel's

       13   familiar with, obviously, the Panel's prior jurisprudence

       14   explaining the advantages from a judicial economy and

       15   convenience and other standpoints to 1404 transfer, and so

       16   again, if the Panel is inclined to consider consolidating

       17   these cases, we see no reason why that can't be accomplished

       18   through a 1404 transfer of all 11 of our cases to the Northern

       19   District of Illinois.       Otherwise, I think, as should be clear

       20   from our papers, we don't oppose, if there is going to be an

       21   MDL created, the Northern District of Illinois as a, you know,

       22   convenient forum for these cases.

       23               Thank you.

       24               JUDGE CALDWELL:     Thank you.

       25               Questions?    Yes, Judge Kennelly.

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        1               JUDGE KENNELLY:     Just one.    In the cases that are in

        2   Eastern Virginia right now, I should know this, but I don't,

        3   are the remand motions all in front of one judge, or are they

        4   in front of different judges?

        5               MR. ROJAS:    All in front one judge, Judge Hilton.

        6               JUDGE KENNELLY:     Okay.   Thanks.

        7               JUDGE CALDWELL:     Other questions?

        8               All right.    Do you care to rebut, Mr. Schultz?

        9               MR. ROJAS:    Thank you, Your Honors.

       10               MR. SCHULTZ:     Very briefly, Your Honor.

       11               JUDGE CALDWELL:     Yes, you may.

       12               MR. SCHULTZ:     At the risk of taxing your patience at

       13   the end of the hearing, a couple of notes I just want to make

       14   in response.     There are actually five sets of plaintiffs'

       15   firms.    There is a Riyanto case that has been remanded and a

       16   separate Riyanto cases pending in federal court, so there

       17   actually are five cases.       The fact that no additional cases

       18   have been filed in the last couple of months is not

       19   surprising.     In aviation cases, they tend to be filed around

       20   the anniversary of the accident in January, so the potential

       21   tag-alongs would be more likely to come late this year or the

       22   very beginning of next year.

       23               And finally, with respect to the 1404 transfer, we

       24   just note, again, that we were not even able to get the

       25   plaintiffs' firms to agree to an intradistrict reassignment to

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        1   Judge Kness, who has the lowest numbered case in the Northern

        2   District of Illinois.       There is not any particular reason to

        3   believe that we'll be any more successful with any more

        4   complicated attempts to coordinate or to secure transfer of

        5   these cases.

        6               JUDGE CALDWELL:     Thank you.

        7               Questions?

        8               JUDGE COX ARLEO:     Question.    Have there been any

        9   remand motions filed in Virginia?

       10               MR. SCHULTZ:     The remand motions in the Eastern

       11   District of Virginia have been filed in all 11 cases.

       12   Briefing was completed, and after briefing was completed,

       13   shortly before the planned hearing, Judge Hilton granted

       14   Boeing's motion to stay.       Those motions and the cases overall

       15   are pending the Panel's determination.

       16               JUDGE COX ARLEO:     And what was Boeing's position as

       17   to jurisdiction in those cases?

       18               MR. SCHULTZ:     Boeing's position is that jurisdiction

       19   is proper in Federal Court both on preservice removal grounds,

       20   which has been approved by all of the Circuits to have

       21   considered the issue, as well as on admiralty jurisdiction

       22   grounds.

       23               JUDGE COX ARLEO:     Same position in Illinois;

       24   correct?

       25               MR. SCHULTZ:     It's a similar position, except in the

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        1   Northern District of Illinois, the home forum defendant rule

        2   doesn't apply in our view because Boeing's principle place of

        3   business is no longer there.        All of the decedents were

        4   Indonesian.     Boeing clearly is not Indonesian, so there is

        5   diversity of citizenship regardless of where Boeing's

        6   principle place of business is held to be.

        7               JUDGE COX ARLEO:     Okay.

        8               JUDGE KIMBALL:     Your view about 1404 is that it's

        9   basically a hopeless quest?

       10               MR. SCHULTZ:     I don't know if I'd use those words,

       11   Judge Kimball, but I do believe it would be very difficult to

       12   get the parties to agree on a single forum.           The facts were

       13   all there when everybody filed, and people chose to file in

       14   different courts.

       15               JUDGE CALDWELL:     Other questions?

       16               Hearing none, we thank you for your argument.

       17               That concludes arguments on MDL Number 3072 and the

       18   Panel's business for the day.

       19               We'll be in recess.

       20               (Proceedings conclude as to MDL Number 3072 at

       21               10:45 a.m.)

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        1                            C E R T I F I C A T E

        2

        3               I, Erica R. McQuillen, Federal Official Realtime

        4   Reporter, in and for the United States District Court for the

        5   District of Arizona, do hereby certify that, pursuant to

        6   Section 753, Title 28, United States Code, the foregoing is a

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        9   transcript page format is in conformance with the regulations

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       11               Dated this 4th day of April, 2023.

       12

       13                                 s/Erica R. McQuillen
                                       Erica R. McQuillen, RDR, CRR
       14                           Federal Official Court Reporter

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